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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION


     UNITED STATES, et al.,
                       Plaintiffs,
           v.                                                    No: 1:23-cv-00108-LMB-JFA

     GOOGLE LLC,
                            Defendant.

                                         [PROPOSED] ORDER

           Pursuant to E.D. Va. Civ. R. 83.1(H), the Court herby

           GRANTS the motion of Defendant Google LLC (“Google”) for the withdrawal of the

    appearance of Jeanette Marie Bayoumi as counsel for Google; and it is further

           ORDERED that the Clerk of the Court shall strike her appearance and remove her from

    the CM/ECF service list in this matter, and it is further

           ORDERED that the parties need not serve any further pleadings, motions, or other papers

    to Jeanette Marie Bayoumi in this matter.



    Entered this _______ day of January, 2025




                                           United States District / Magistrate Judge
